Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 1 of 15 PageID #: 313



                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

SAS INSTITUTE INC.,

            Plaintiff,                   Civil Action No. 2:18-cv-00295-JRG

       v.
                                         Jury Trial Demanded
WORLD PROGRAMMING LIMITED, ET
AL.,

            Defendants.

            DEFENDANT WORLD PROGRAMMING LIMITED’S
                    RULE 12(b)(6) MOTION TO DISMISS
   PLAINTIFF SAS INSTITUTE INC.’S COPYRIGHT INFRINGEMENT CLAIMS
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 2 of 15 PageID #: 314



                                               TABLE OF CONTENTS


I.     BACKGROUND ................................................................................................................. 2

       a.         SAS’s first copyright infringement loss – in the United Kingdom......................... 3

       b.         SAS’s second copyright infringement loss – in North Carolina ............................. 3

       c.         SAS’s third try at copyright infringement – the current lawsuit ............................. 5

II.    LEGAL STANDARD ......................................................................................................... 6

       a.         Federal pleading standards ...................................................................................... 6

       b.         Pleading a copyright infringement claim ................................................................ 7

III.   ARGUMENT ....................................................................................................................... 7

       a.         SAS fails to allege ownership of any specific registered copyrights that
                  Defendants allegedly infringe. ................................................................................ 8

       b.         SAS fails to allege by what acts and during what time Defendants allegedly
                  infringed SAS’s copyrights, as required by the Federal Rules. ............................ 10

IV.    CONCLUSION .................................................................................................................. 12




WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                                 i
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 3 of 15 PageID #: 315



       Plaintiff SAS Institute Inc. has not stated a viable copyright infringement claim, and its

complaint lacks necessary allegations—including even the basic identification of the copyrights at

issue. This lack of specificity may be an effort to avoid an early judgment on preclusion or statute

of limitations grounds. After all, this case is SAS’s third attempt to pursue copyright claims against

Defendant World Programming Limited—having already lost twice, first in the United Kingdom,

and more recently in its home forum of the Eastern District of North Carolina.

       Despite years of litigation involving copyright claims, SAS has not pleaded the necessary

basic allegations of a copyright infringement claim. A comparison between the suit SAS filed in

North Carolina and this suit shows that SAS knows how to specifically plead. Compare Ex. 1,

E.D.N.C. No. 5:10-CV-25, Dkt. 1-2 (SAS’s list of nearly 100 of the Manuals’ copyrights attached

to its North Carolina complaint), and Ex. 2, E.D.N.C. No. 5:10-CV-25, Dkt. 1 (SAS’s North

Carolina complaint, identifying the copyright registration dates and numbers of specific versions

of SAS software that World Programming allegedly infringed), at ¶ 36, with Dkt. 1 (SAS’s

complaint in this action, with no mention of any specific copyright). Having twice lost on its

software copyright claims and agreeing to dismiss with prejudice its manual copyright claims, SAS

fails to allege the essential first half of a copyright infringement claim—identification of the

registered copyright at issue. Its claims must be dismissed.

       Not only has SAS failed to plead that its infringement allegations are based on registered

copyrights, much less any specific copyright that it claims is infringed, but it has also failed to

identify, with the specificity demanded by federal pleading standards, by what acts and during

what time any infringement occurred. Because of these pleading deficiencies, SAS fails to state a

plausible claim to relief, masking the potentially dispositive preclusive effect of SAS’s prior suits

behind vague allegations of infringement.



WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                 1
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 4 of 15 PageID #: 316



          For each of these reasons, SAS fails to state a claim upon which relief can be granted and,

as such, its copyright claims must be dismissed. Defendant World Programming Limited (“World

Programming”) therefore moves this Court to dismiss SAS’s copyright infringement claims

(Counts One through Four) under Federal Rule of Civil Procedure 12(b)(6) for failure to state a

claim.1

I.        BACKGROUND

          Now before a third trial court, SAS’s copyright infringement claims have a long

background. This winding history sheds light on the current lawsuit and, in particular, the deficient

allegations in SAS’s complaint.2 SAS first sued World Programming for copyright infringement

almost a decade ago, in World Programming’s home forum, the United Kingdom; SAS then filed

another copyright lawsuit against World Programming in SAS’s place of incorporation, the Eastern


1
  World Programming and other defendants have conferred with SAS and, absent an agreement,
are also planning to file a motion to sever and stay both the copyright and patent claims against
World Programming resellers and customers. See Dkt. 1 at ¶¶ 61–71. Defendants will separately
file this motion, which will explain why SAS’s reseller and customer claims are peripheral to
SAS’s claims against World Programming and why adjudicating the World Programming claims
will likely dispose of the reseller and customer claims. See, e.g., Saint Lawrence Commc’ns LLC
v. Apple Inc., 2:16-CV-82-JRG, 2017 WL 3712912, at *2 (E.D. Tex. July 12, 2017) (Gilstrap, J.)
(quoting Shifferaw v. Emson USA, 2:09-CV-54-TJW-CE, 2010 WL 1064380, at *1 (E.D. Tex.
Mar. 18, 2010) (Everingham, M.J.)). In addition, should SAS be granted leave to re-plead its
copyright claims, World Programming may seek a transfer of SAS’s copyright claims to the
Eastern District of North Carolina—a court located in SAS’s state of incorporation, Dkt. 1 at ¶ 7,
and that has already granted summary judgment for World Programming on copyright claims by
SAS. In the meantime, however, SAS’s failure to identify any registered copyright prevents World
Programming from understanding whether litigation would be clearly more convenient before the
federal court that already granted summary judgment on SAS’s previous copyright claims.
2
 On this motion to dismiss, the Court may consider “the complaint, any documents attached to the
complaint, and any documents attached to the motion to dismiss that are central to the claim and
referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383,
387 (5th Cir. 2010). In addition, “[f]ederal courts are permitted to refer to matters of public record
when deciding a 12(b)(6) motion to dismiss.” See, e.g., Davis v. Bayless, 70 F.3d 367, 372 n.3
(5th Cir. 1995) (finding no error in district court’s use of court orders from a different state court
proceeding). This motion cites public orders and pleadings from SAS’s two previous losses and
attaches copies as exhibits for the Court’s convenience.
WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                  2
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 5 of 15 PageID #: 317



District of North Carolina. The U.K. trial court entered final judgment for World Programming

on almost all of SAS’s claims over five years ago, finding that U.K. copyright law did not protect

the aspects of the SAS program that SAS claimed World Programming reproduced. Meanwhile,

in the North Carolina lawsuit, the district court granted World Programming’s motion for summary

judgment against SAS’s copyright claims on similar grounds. The Fourth Circuit later held SAS’s

copyright claims were moot. Now, in its complaint in this case, SAS brings similar allegations of

copyright infringement, but has failed to identify the copyrights at issue, perhaps in an attempt to

stave off a preclusion ruling in this third lawsuit.

        a.      SAS’s first copyright infringement loss – in the United Kingdom

        The genesis of SAS’s litigation against World Programming dates back to September 2009

when SAS sued World Programming in the United Kingdom—a lawsuit SAS fails to even mention

in its complaint. See Ex. 3, 4th Cir. No. 16-1808, Dkt. 99 (4th Circuit Opinion, October 24, 2017),

at 5. SAS claimed World Programming infringed copyrights in SAS’s software components and

manuals. Id. Over five years ago, after conducting a complete trial, the U.K. court found that

World Programming had not infringed any protectable component of SAS’s software or manuals

by producing its own software. Ex. 4, E.D.N.C. No. 5:10-CV-25, Dkt. 320-2 (Final Judgment of

the U.K. High Court, January 25, 2013), at ¶¶ 48, 54.

        b.      SAS’s second copyright infringement loss – in North Carolina

        About four months after suing World Programming in the United Kingdom, SAS filed a

lawsuit in the Eastern District of North Carolina, alleging copyright infringement and state-law

claims that appeared to be based on the same conduct as the United Kingdom lawsuit. Ex. 2,

E.D.N.C. No. 5:10-CV-25, Dkt. 1 (SAS’s Original Complaint in North Carolina, January 19,

2010). As in the United Kingdom lawsuit and this one, SAS alleged infringement of copyrights

for its software and manuals. Id.

WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                  3
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 6 of 15 PageID #: 318



       Unlike this case, however, SAS identified in its North Carolina complaint the specific

registered copyrights at issue. Id. at ¶ 36; Ex. 1, E.D.N.C. No. 5:10-CV-25, Dkt. 1-2 (Exhibit A

to SAS’s Original Complaint in North Carolina). The district court granted summary judgment

for World Programming on SAS’s claims for its software copyrights, holding:

       It is undisputed that the parties’ programs implement the idea of an SAS Language
       in different ways as their programs are not written in the same programming
       languages. Thus, the court finds that, on this record, there is no genuine issue of
       material fact that [World Programming] has not infringed [SAS’s] software
       copyrights.

Ex. 5, E.D.N.C. No. 5:10-CV-25, Dkt. 296 (Summary Judgment Order, September 29, 2014), at

30 (record citations and footnote omitted).          SAS later dismissed its claim for copyright

infringement of its manuals, with prejudice.         Ex. 6, E.D.N.C. No. 5:10-CV-25, Dkt. 454

(Stipulation of Dismissal of Manual Claims with Prejudice, September 9, 2015). SAS prevailed

on its separate state-law claims and was awarded damages, but the district court refused to enter

an injunction.

       On appeal, the Fourth Circuit ruled that SAS’s copyright infringement claim was moot.

Ex. 3, 4th Cir. No. 16-1808, Dkt. 99 (4th Circuit Opinion, October 24, 2017), at 32–33. During

briefing and at oral argument, SAS had made clear that the only relief it sought from its copyright

infringement claim that it had not already received from its separate state-law claims was an

injunction. Id. at 33. Having already affirmed the district court’s denial of the injunction, the

Fourth Circuit held that the copyright-infringement claim was moot because there was no effective

relief available in federal court that SAS had not already received. Id. at 32–33. The Fourth Circuit

vacated the district court’s ruling on “the now-moot copyright issue,” and remanded with

instructions to dismiss, which the district court did, without prejudice. Id. at 33; Ex. 7, E.D.N.C.

No. 5:10-CV-25, Dkt. 753 (Second Amended Judgment, May 3, 2018).



WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                4
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 7 of 15 PageID #: 319



       c.      SAS’s third try at copyright infringement – the current lawsuit

       In this case, SAS asserts what seem like familiar claims for copyright infringement. Dkt. 1

at ¶¶ 252–93; id. at 63 ¶¶ F, G. But in its 65-page complaint SAS does not: (1) identify the

copyrights that Defendants allegedly infringed, (2) claim that its allegations are based on registered

copyrights, or (3) state by what acts or when the alleged infringement took place—let alone when

it took place within the limitations period. See generally id. SAS provides no registration

numbers, registration dates, or copies of registrations. While alleging that SAS has registered some

copyrights, the complaint never says whether those copyrights are the ones Defendants allegedly

infringe. These omissions render SAS’s complaint inadequate under federal pleading standards,

and these copyright claims must be dismissed.

       While SAS has not identified the copyrights at issue, some of its allegations appear similar

to the claims SAS already lost in the U.K. and North Carolina cases, with SAS making allegations

about conduct that occurred over fifteen years ago.3 Beyond addressing actions from outside the

limitations period, SAS never identifies by what acts and during what time any of Defendants’

alleged infringement occurred, as it must do in pleading a claim for copyright infringement.4 These

omissions justify dismissal.


3
  In one instance, SAS dredges up allegations from the North Carolina litigation that the court there
dismissed on summary judgment and that SAS did not appeal. In its present complaint, SAS
alleges that World Programming engaged in a “series of illegal and illicit behaviors” in creating
its software, including by “wrongfully convinc[ing] a SAS customer to let WPL use the customer’s
licensed version of the SAS software . . .” Dkt. 1 at ¶¶ 4–5. SAS used this allegation as the basis
for its claim for tortious interference with a contract in the North Carolina case, and lost on
summary judgment. Ex. 5, E.D.N.C. No. 5:10-CV-25, Dkt. 296 (Summary Judgment Order,
September 29, 2014), at 34–36. SAS, having already lost on this exact issue, nonetheless repeats
its rejected allegation.
4
  As set forth in the section below, “a properly plead copyright infringement claim must allege:
(1) which specific original works are the subject of the claim, (2) that the plaintiff owns the
copyright, (3) that the works have been registered in compliance with the copyright laws, and
(4) by what acts and during what time the defendant has infringed the copyright.” Sefton v. Jew,
WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                 5
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 8 of 15 PageID #: 320



II.    LEGAL STANDARD

       a.      Federal pleading standards

       SAS’s copyright claims must be dismissed under Rule 12(b)(6) because they do not contain

“a short and plain statement of the claim showing that the pleader is entitled to relief.” FED. R.

CIV. P. 8(a)(2). “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). On this

motion to dismiss, the Court may consider certain documents outside the complaint, including

those from the North Carolina litigation that are matters of public record and those central to SAS’s

copyright claims and that SAS’s complaint references. Lone Star Fund, 594 F.3d at 387; Bayless,

70 F.3d at 372 n.3.

       While the Court must accept as true all well-pleaded allegations, “[f]actual allegations must

be enough to raise a right to relief above the speculative level.” Twombly, 550 U.S. at 555. “[A]

plaintiff’s obligation to provide the grounds of his entitlement to relief requires more than labels

and conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Id.

(internal quotations and alterations omitted).

       In this two-pronged approach, the trial court must first identify allegations amounting to

no more than conclusions and give them no assumption of truth. Iqbal, 556 U.S. at 679. Next, the

court conducts a context-specific analysis of whether “the factual allegations in [the] complaint . .

. plausibly suggest an entitlement to relief” by relying on the court’s judicial experience and

common sense. Id. at 679, 681. “A claim has facial plausibility when the plaintiff pleads factual


201 F. Supp. 2d 730, 747 (W.D. Tex. 2001); Kelly v. L.L. Cool J., 145 F.R.D. 32, 36 (S.D.N.Y.
1992), aff’d, 23 F.3d 398 (2d Cir. 1994); see also Am. Plastic Equip., Inc. v. Toytrackerz, LLC,
CIV.A. 07-2253-DJW, 2008 WL 917507, at *2 (D. Kan. Mar. 31, 2008) (“[M]ost courts hold that
a properly pled copyright infringement claim must allege” these four facts).
WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                6
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 9 of 15 PageID #: 321



content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. at 678.

       b.      Pleading a copyright infringement claim

       A claim for copyright infringement has two main elements: (1) ownership of a valid

copyright, and (2) actionable copying by the defendant. Bridgmon v. Array Sys. Corp., 325 F.3d

572, 576 (5th Cir. 2003). Many courts require a copyright plaintiff to allege “(1) which specific

original works are the subject of the claim, (2) that the plaintiff owns the copyright, (3) that the

works have been registered in compliance with the copyright laws, and (4) by what acts and during

what time the defendant has infringed the copyright.” Sefton v. Jew, 201 F. Supp. 2d 730, 747

(W.D. Tex. 2001); Kelly v. L.L. Cool J., 145 F.R.D. 32, 36 (S.D.N.Y. 1992), aff’d, 23 F.3d 398

(2d Cir. 1994); see also Am. Plastic Equip., Inc. v. Toytrackerz, LLC, CIV.A. 07-2253-DJW, 2008

WL 917507, at *2 (D. Kan. Mar. 31, 2008) (“[M]ost courts hold that a properly

pled copyright infringement claim must allege” these four facts).

       Even courts that do not interpret Rule 8 as requiring the standard set forth above still require

the copyright plaintiff to provide sufficient detail of its claims. See Marshall v. McConnell, CIV.A.

3:05-CV-1062L, 2006 WL 740081, at *4 n.4 (N.D. Tex. Mar. 23, 2006) (dismissing copyright

allegations akin to SAS’s vague allegations because they “d[id] not meet the minimal standard set

forth in Rule 8(a). Requiring a party to state allegations that meet this standard in no way runs

contrary to notice pleading under Rule 8(a). In reality, such practice complements Rule 8(a) in

that it fairly puts the opposing party on notice of the claims being asserted against it.”).

III.   ARGUMENT

       SAS’s complaint fails to identify a single registered copyright that Defendants allegedly

infringe or when any alleged infringement within the limitations period occurred. The deficiencies

of SAS’s copyright allegations, alongside the winding history of this dispute, prolong resolution

WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                 7
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 10 of 15 PageID #: 322



of preclusion defenses, which almost certainly will apply based on SAS twice bringing (and losing)

its similar claims.

          a.     SAS fails to allege ownership of any specific registered copyrights that
                 Defendants allegedly infringe.

          SAS has not alleged that it has a copyright registration with respect to the copyrights in

this suit because it does not say which copyrights are at issue in this suit. Nor does it allege that

its claims are limited to registered copyrights. “[N]o civil action for infringement of the copyright

in any United States work shall be instituted until preregistration or registration of the copyright

claim has been made in accordance with this title.” 17 U.S.C. § 411. “If a plaintiff does not have

a copyright registration, her claim may be dismissed for failure to state a claim . . . .” Real Estate

Innovations, Inc. v. Hous. Ass’n of Realtors, Inc., 422 F. App’x 344, 348 (5th Cir. 2011). Thus,

SAS’s failure to identify its registered copyrights warrants a dismissal of its copyright infringement

claims.

          SAS does allege that it registers versions of its manuals and software with the Copyright

Office to protect its intellectual property. Dkt. 1 at ¶ 36. SAS adds that its software and manuals

“are subject to well over 100 Copyright Registrations, each duly registered with the United States

Copyright Office.” Id. at ¶ 72. But SAS alleges nothing further. Absent from the complaint are

the identities of any asserted copyrights—SAS provides no registration numbers or dates and

attaches no copies of the registrations to its complaint. SAS never identifies which—if any—of

its “well over 100 Copyright Registrations” are at issue in this lawsuit. Id. SAS never even claims

that any of these registered copyrights are the ones that Defendants allegedly infringe.

          A plaintiff must allege valid registration of the copyrights at issue in the case to maintain

a copyright infringement suit. See Real Estate Innovations, 422 F. App’x at 348 (affirming

dismissal for failure to state a claim where plaintiff’s proof of copyright registration was limited


WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                  8
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 11 of 15 PageID #: 323



to a different software than the software defendant allegedly infringed). SAS has not done so.

This Court has dismissed copyright claims for the exact pleading defect here—not identifying any

registered copyrights at issue in the case. Johnson v. Zuckerberg, 2:17-CV-00261-JRG-RSP, 2017

WL 5468295, at *2 (E.D. Tex. Oct. 10, 2017) (Payne, M.J.), report and recommendation adopted,

2017 WL 5257043 (E.D. Tex. Nov. 9, 2017) (Gilstrap, J.) (dismissing copyright infringement

claims where “Plaintiff cannot assert a copyright against Defendant since she does not identify any

registered copyrights.”). In short, courts dismiss copyright claims with similarly vague allegations

of copyright ownership because they do not meet federal pleading standards. Marshall, 2006 WL

740081 at *4 (dismissing copyright claims alleging infringement of “certain [of plaintiff’s] legal

treatises and forms” because such vague allegations “could relate to any number of documents

pertaining to . . . business plans and operations allegedly copyrighted by [plaintiff].”).

       SAS’s failure to identify the copyrights at issue is especially inexplicable in light of SAS’s

complaint in its earlier lawsuit in North Carolina. Compare Ex. 1, E.D.N.C. No. 5:10-CV-25, Dkt.

1-2 (SAS’s list of nearly 100 of the Manuals’ copyrights attached to its North Carolina complaint),

and Ex. 2, E.D.N.C. No. 5:10-CV-25, Dkt. 1 (SAS’s North Carolina complaint, identifying the

copyright registration dates and numbers of specific versions of SAS software that World

Programming allegedly infringed), at ¶ 36, with Dkt. 1 (SAS’s complaint in this action, with no

mention of any specific copyright). SAS may not wish to make clear that it is suing on the very

same copyrights at issue in the North Carolina litigation—or maybe SAS has not yet decided what

copyrights it may plan to claim are infringed. But in failing to provide these allegations, SAS fails

to allege the fundamental foundation of a copyright infringement claim—identification of the

registered copyright at issue. SAS’s copyright infringement claims must be dismissed.




WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                 9
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 12 of 15 PageID #: 324



       b.      SAS fails to allege by what acts and during what time Defendants allegedly
               infringed SAS’s copyrights, as required by the Federal Rules.

       SAS’s pleading deficiencies are not limited to its failure to identify any registered

copyrights; SAS also fails to identify what acts constitute infringement and when any such acts

occurred. To satisfy the federal pleading standards, a copyright plaintiff must allege “by what acts

and during what time the defendant has infringed the copyright.” Sefton, 201 F. Supp. 2d at 747.

The most basic federal pleading requirements demand certain specificity from a copyright

infringement claim, a goal served by requiring allegations of what Defendants did that allegedly

constitutes infringement and when they allegedly did it. See Marshall, 2006 WL 740081 at *4 n.4.

Further, such details would determine whether SAS has alleged actionable copying, Bridgmon,

325 F.3d at 576, because infringement is actionable only if it is within the three-year limitations

period. 17 U.S.C. § 507(b). By omitting any specific acts and providing specific time periods only

for its allegations about long-ago conduct—before even the U.K. and North Carolina cases—

SAS’s complaint lacks this requisite specificity.

       SAS’s First Cause of Action for direct copyright infringement exemplifies how the

complaint falls short of these federal pleading standards. SAS alleges that Defendants are

“reproducing, distributing, displaying, selling, and/or creating derivative works of the SAS

System.” Dkt. 1 at ¶ 256. Yet in its headline cause of action, SAS does not identify a single

specific act through which Defendants infringe or a single specific product that allegedly infringes.

The similarly deficient copyright claims in Marshall v. McConnell, which the court held did not

satisfy the pleading requirements of Rule 8, illustrate the point. 2006 WL 740081 at *4. There, a

copyright plaintiff alleged infringement of “certain [of its] legal treatises and forms” and included

only “blanket references to ‘copying, using and/or incorporating.’” Id. The court found the

complaint did not meet Rule 8’s most basic pleading requirements. Id. For the same reason the


WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                10
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 13 of 15 PageID #: 325



Marshall allegations failed, SAS’s allegations fail; SAS, like the Marshall plaintiff, makes nothing

more than blanket references to reproducing, displaying, selling, and creating “derivative works,”

without identifying these “derivative works” or explaining how they infringe.

       Adding to the defective nature of SAS’s allegations and further justifying dismissal, SAS

does not state when Defendants allegedly infringed. In National Business Development Services,

Inc. v. American Credit Education & Consulting Inc., for example, the Sixth Circuit agreed with

the district court’s dismissal of a copyright complaint alleging merely that infringement occurred

“[a]t some time in the past.” 299 F. App’x 509, 511 (6th Cir. 2008). Under Twombly, the court

said, the complaint lacked the requisite specificity. Id. at 511–12. Just as that complaint was

deficient, so too is SAS’s complaint, because it only vaguely asserts that Defendants infringe,

without attaching any dates or timeframe to this allegation. Even general allegations about the

time period, which SAS does not provide here, are insufficient. See, e.g., Mahnke v. Munchkin

Prods., Inc., 99-CIV-4684-LTS-THK, 2001 WL 637378, at *5 (S.D.N.Y. June 7, 2001) (granting

motion to dismiss copyright infringement claim even where, liberally construed, the plaintiff may

have alleged some infringement within the limitations period, because the plaintiff had not

specified the dates or time frame of the infringement). SAS’s threadbare allegations do not

withstand scrutiny under Twombly and Iqbal.

       SAS identifies two dates when the alleged infringement occurred—in 2003 and 2008.

Dkt. 1 at ¶¶ 2, 42, 51, 53. But SAS cannot rely on conduct occurring on these dates in attempting

to provide the requisite specificity for its copyright claims because these allegations are outside

the three-year limitations period. Because these dated allegations occurred long before the three-

year limitations period ended, they cannot show actionable infringement, and a claim relying

exclusively on such facts fails. Jaso v. The Coca Cola Co., 435 F. App’x 346, 351 (5th Cir. 2011)



WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                               11
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 14 of 15 PageID #: 326



(dismissal of copyright claims on limitations grounds is appropriate “where it is evident from the

complaint that the action is barred” (internal quotations and alterations omitted)). In addition,

these dated allegations appear to be identical to those that SAS already unsuccessfully litigated in

the U.K. and North Carolina. Similarly, SAS cannot rely on conduct occurring outside the United

States in attempting to plead its infringement claim because “‘copyright laws generally do not have

extraterritorial application.’” Jaso v. Coca Cola Co., 537 F. App’x 557, 560 (5th Cir. 2013)

(quoting Update Art, Inc. v. Modiin Pub., Ltd., 843 F.2d 67, 73 (2d Cir. 1988)). To the extent

SAS’s complaint relies on actions occurring outside the U.S., such allegations cannot identify by

what acts and during what time Defendants infringed because these allegations are not actionable

under the Copyright Act. See id.

       Beyond these now-expired allegations, SAS does not allege “during what time the

defendant has infringed the copyright.” Sefton, 201 F. Supp. 2d at 747. Perhaps SAS has not done

so because its claim is time-barred, or perhaps to try to mask the preclusion issues raised by this

third copyright action. Regardless of the reasons for its failures, SAS has either pleaded claims

barred by limitations, Jaso, 435 F. App’x at 351–52, or fully omitted the “time [during which] the

defendant has infringed the copyright.” Sefton, 201 F. Supp. 2d at 747. In either event, SAS has

not satisfied the federal pleading standards, and its claims must be dismissed.

IV.    CONCLUSION

       SAS has had three lawsuits and almost nine years to refine its copyright claims. But in its

present complaint, perhaps attempting to tiptoe around preclusion doctrines and the statute of

limitations that may put an end to SAS’s third copyright lawsuit, SAS still omits essential elements

from its copyright claims. Without allegations identifying the registered copyrights at issue in this

lawsuit, and without an allegation of the acts constituting infringement and when these acts



WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                                12
Case 2:18-cv-00295-JRG Document 46 Filed 10/22/18 Page 15 of 15 PageID #: 327



occurred, SAS has not pleaded viable copyright infringement claims. These claims must be

dismissed.

Dated: October 22, 2018                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       A true and correct copy of this document has been served on October 22, 2018, to all

counsel of record who are deemed to have consented to electronic service though the Court’s

CM/ECF system.

                                                       /s/ Timothy S. Durst
                                                       Timothy S. Durst



WORLD PROGRAMMING’S RULE 12(b)(6)
MOTION TO DISMISS                           13
